6:24-cr-O0080-RAW Document 56 Filed in ED/OK on 09/25/24 Page 1 of 3

UNITED STATES DISTRICT COURT
For THE
EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
Plaintiff(s), 5
vs. Case No. CR-24-080-RAW
JASON DALE COLE &
CRYSTAL FAYE CHESSER, )
Defendant(s).

UNOPPOSED JOINT MOTION To CONTINUE JURY TRIAL THIRTY (30) DAYS

COMES Now, the Defendant, JASON DALE COLE, by and through his attorney of record, Robert
V. Seacat, and moves this Court to continue this case for approximately thirty (30) days, to extend the
deadline for filing motions, and for an entry of an order excluding this time period when calculating
the time within which trial must commence pursuant to 18 U.S.C. § 3161 (h). In support of his Motion,
Defendant states as follows:

1. That in compliance with Local Criminal Rule 12.1 (B), Counsel advises the Court that
he has conferred with Michael E. Robinson, Assistant United States Attorney, and is authorized to
state the Government has no objection to this Motion.

2. That Counsel advises the Court that he has conferred with Dan Medlock, Attorney for
Defendant Chesser, and is authorized to state that Defendant Chesser joins in this Motion.

3. That Defendants Chesser and Cole previously filed an Unopposed Joint Motion to
Continue on May 29, 2024 and on June 23, 2024 and the last Order was entered on July 24, 2024.

4. That Defendant Cole has been remanded to custody of the United States Marshall and
his being held in the Okmulgee County Jail pending trial.

5. That this matter is currently set for pretrial conference on October 17, 2024 at 11:15

am and for trial on November 5, 2024.
6:24-cr-O0080-RAW Document 56 Filed in ED/OK on 09/25/24 Page 2 of 3

6. That the enormous volume of discovery required an extensive amount of time to review
and evaluate and has lead to discussions with the Government about potential resolution of the matter.

7. That counsel has conferred with Michael Robinson, AUSA, regarding potential
resolution of this matter and both counsel agree that an additional thirty (30) days is necessary to work
through the numerous issues raised by the ten (10) count indictment and the impact of the sentencing
guidelines in order to achieve an agreed resolution.

8. That both counsel for the Government and counsel for Defendants believe that in this
case, the ends of justice outweigh the interests of the public and the Defendants in a speedy trial. 18
U.S.C. §3161(h)(7)(A).

9. That counsel for the Defendants understand that an “ends of justice” continuance
should be granted cavalierly and that public has an equal interest in a speedy trial. See United States
v. Toombs, 574 F.3d 1262, 1269, 1273 (10% Cir. 2009). Among the factors which the Court must
consider in making a determination on an “ends of justice” continuance are:

A. Whether failure to grant a continuance of the proceeding would likely make a
continuation of the proceeding impossible or result in a miscarriage of justice. 18 U.S.C. §3161
(h)(7)(B)().

B. Whether the case is so unusual or complex, due to the existence of a novel
question of fact or law, that it is unreasonable to expect adequate preparation for the trial itself within
the time limits imposed by the Speedy Trial Act. 18 U.S.C. §3161 (h)(7)(BY(ii).

C. Whether failure to grant a continuance in a case which, taken as a whole, is not
unusual or complex would nonetheless deny counsel for the Defendant the reasonable time necessary
for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §3161
(h)(7)(B) Gy).

10. Failure to grant a continuance would likely make a continuation of the proceeding

impossible or result in a miscarriage of justice. 18 U.S.C. §3161 (h)(7)(B)(i).
6:24-cr-O0080-RAW Document 56 Filed in ED/OK on 09/25/24 Page 3 of 3

11. | While the instant case is not unusual or complex, failure to grant a continuance would
nonetheless deny Counsel for Defendant the reasonable time necessary for effective preparation,

taking into account the exercise of due diligence. 18 U.S.C. §3161 (h)(7)(B)(iv).

WHEREFORE, counsel for Defendant Cole respectfully moves this Court to continue the

jury trial in this matter and extend the time for filing of pretrial motions no more than thirty (30) days.

Respectfully submitted,

/s/ Robert V. Seacat

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CERTIFICATE OF SERVICE
I hereby certify that on the 25" day of September, 2024, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to the following ECF registrants (names only are sufficient)

Dan Medlock, Attorney for Crystal Chesser
Michael Robinson, Assistant United States Attorney
/s/ Robert V. Seacat

Robert V. Seacat
ATTORNEY FOR DEFENDANT COLE

